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               IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF PENNSYLVANIA

                                                                                ________
  JOSEPH and URSY A. VITALE         :
                                    : NO. 2:15-cv-01815 SD
                v.                  :
                                    : JURY TRIAL DEMANDED
  ELECTROLUX HOME PRODUCTS, INC.    :
                                                  _________________
                    STIPULATION TO DISMISS

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby stipulated

  and agreed by and between Plaintiff, Joseph and Ursy A. Vitale, and Defendants,

  Electrolux Home Products, Inc., by and through their undersigned counsel, that this matter,

  is dismissed with prejudice, and that each party shall bear its own costs and attorney’s fees.


       de LUCA LEVINE LLC                                        NICOLSON LAW GROUP LLC


BY:    /s/ Patrick A. Hughes ___________                  BY:    /s/ Cheryl M. Nicolson_____________
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Dated: September 17, 2019                                 Dated: September 17, 2019
